v
Case 2:05-CV-02272-SHI\/|-tmp Document3 Filed 08/23/05 Pagelof 12 Pag| 1

also ev __ D.C.
IN THE UNITED STATES DISTRICT COURT

FOR THE wEsTERN DIsTRIcT 0F TENNEssEE QSAU323 PH 3:|8
_ wEsTERN DIvIsIoN

W@WB%tGURD

-ml"r\_-) nn nm,
bl.[nl\, L.'.\.=. i."-_.-l;

m ct emma

ARTIS REESE a/k/a
RAY cURTIs sMITH,

Plaintiff,
vs. No. 05-2272-Ma/P
SHELBY COUNTY, et al.,

Defendants.

>-<><>-<>-<><><>-<>-<><>-<>-<>-<

 

ORDER CORRECTING THE DOCKET
ORDER TO COMPLY WITH PLRA
ORDER ASSESSING $250 FILING FEE
ORDER OF DISMISSAL
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH
AND
NOTICE OF APPELLATE FILING FEE

 

Plaintiff Artis Reese a/k/a Ray Curtis Smith,1 booking
number 05106684,2 an inmate at the Shelby County Criminal Justice
Complex (“Jail”)3 in Memphis, filed a pro §§ complaint pursuant to

42 U.S.C. § 1983 on April 12, 2005. The Clerk shall record the

 

1 Although the plaintiff filed this lawsuit under the name “Artis
Reese,” which is the name he was booked under, the complaint alleges that
plaintiff's real name is Ray Curtis Smith. The Clerk is ORDERED to correct the
docket to reflect the plaintiff's name as “Artis Reese a/k/a Ray Curtis Smith.”

2 Although the complaint uses the booking number 03135688, the
plaintiff is no longer incarcerated under that number. According to the Shelby
County Sheriff's website, the plaintiff was booked under the new number on March
1, 2005. His RNI number is 291055. In order to facilitate the delivery of the
plaintiff's mail, the Clerk is ORDERED to correct the docket to reflect his
current booking number.

3 The word “prison” is used in this order to refer to all places of
confinement or incarceration, including jails, penal farms, detention and
classification facilities, or halfway houses.

emphance

¢-

Ti-ts document entered on the docket sheet in c
w:t.t Ruis 55 and/or 79(a) FRCP on '

Case 2:05-CV-02272-SHI\/|-tmp Document 3 Filed 08/23/05 Page 2 of 12 Page|D 2

defendants as Shelby County; Shelby County Mayor A.C. Wharton;
Shelby County Sheriff Mark Luttrell; Chief Jailer Coleman;
Assistant Chief Jailer Moore; Lieutenant Henderson, who is
described as the Unit Manager of the administrative segregation
housing unit; Assistant Shift Commander Lieutenant Harrison;
Sergeant Rudd, the floor sergeant of the administrative segregation
housing unit; Officer M. Clark of the Gang Unit (# 06543); Officer
Hinton (# 5446); Officer T. Jefferson (# 6497); Officer B. Draper
(# 6081); Officer T. Mimms (# 6074); Officer S. Tyson (# 6327); and
Nurse Haywood.
I. Assessment of Filing Fee

Under the Prison Litigation Reform Act of 1995 (“PLRA”),
28 U.S.C. § 1915(b), a prisoner bringing a civil action must pay
the full filing fee of $250 required by 28 U.S.C. § 1914(a).4 The
ip ;p;mg pauperis statute, 28 U.S.C. § 1915(a), merely provides the
prisoner the opportunity to make a “downpayment” of a partial
filing fee and pay the remainder in installments.

In this case, the plaintiff has properly completed and
submitted both an ip fp;ma pauperis affidavit containing a
certification by the trust fund officer. Although the plaintiff has
not submitted. a trust fund. account statement, the information
supplied by the plaintiff is sufficient to permit assessment of the
filing fee. Pursuant to 28 U.S.C. § 1915(b)(1), it is ORDERED that

the plaintiff cooperate fully with prison officials in carrying out

 

‘ Effective March 7, 2005, the civil filing fee was increased to $250
from $lEO.

Case 2:05-CV-02272-SHI\/|-tmp Document 3 Filed 08/23/05 Page 3 of 12 Page|D 3

this order. It is ORDERED that, within thirty (30) days of the
entry of this order, plaintiff file a trust fund account statement
for the six months prior to the commencement of this action. It is
further ORDERED that the trust fund officer at plaintiff's prison
shall calculate a partial initial filing fee equal to twenty
percent (20%) of the greater of the average balance in or deposits
to the plaintiff's trust fund account for the six months
immediately preceding the completion of the affidavit. When the
account contains any funds, the trust fund officer shall collect
them and pay them directly to the Clerk of Court. If the funds in
plaintiff's account are insufficient to pay the full amount of the
initial partial filing feel the prison official is instructed to
withdraw all of the funds in the plaintiff's account, and forward
then\ to the Clerk of Court. On each occasion. that funds are
subsequently credited to plaintiff’s account, the prison official
shall immediately withdraw those funds and forward them to the
Clerk of Court, until the initial partial filing fee is paid in
full.

It is further ORDERED that, after the initial partial
filing fee is fully paid, the trust fund officer shall withdraw
from the plaintiff's account and pay to the Clerk of this Court
monthly payments equal to twenty percent (20%) of all deposits
credited to plaintiff's account during the preceding month, but
only when the amount in the account exceeds $10.00, until the

entire $250.00 filing fee is paid.

Case 2:05-CV-02272-SHI\/|-tmp Document 3 Filed 08/23/05 Page 4 of 12 Page|D 4

Each time that the trust fund officer makes a payment to
the Court as required by this order, he shall print a copy of the
prisoner's account statement showing all activity in the account
since the last payment under this order and file it with the Clerk
along with the payment.

All payments and account statements shall be sent to:

Clerk, United States District Court, Western District of
Tennessee, 167 N. Main, Room 242, Memphis, TN 38103

and shall clearly identify plaintiff's name and the case number on
the first page of this order.

If plaintiff is transferred to a different prison or
released, he is ORDERED to notify the Court immediately of his
change of address. If still confined, he shall provide the
officials at the new prison with a copy of this order.

If the plaintiff fails to abide by these or any other
requirement of this order, the Court may impose appropriate
sanctions, including a monetary fine, without any additional notice
or hearing by the Court.

The Clerk shall mail a copy of this order to the prison
official in charge of prison trust fund accounts at plaintiff's
prison. The Clerk is further ORDERED to forward a copy of this
order to the Jail Director to ensure that the custodian of the
plaintiff's inmate trust account complies with that portion of the
PLRA pertaining to the payment of filing fees.

The obligation to pay this filing fee shall continue

despite the immediate dismissal of this case. 28 U.S.C. §

Case 2:05-CV-02272-SHI\/|-tmp Document 3 Filed 08/23/05 Page 5 of 12 Page|D 5

1915(e)(2). The Clerk shall not issue process or serve any papers
in this case.
II. Analvsis of Plaintiff’s Claims

The complaint asserts that, on November 10, 2004, the
plaintiff was physically assaulted by defendants Clark and Hinton
while he was restrained by handcuffs. Defendant Rudd was allegedly
present at the beginning of the incident and ordered the officers
to “kick [plaintiff's] butt.” Defendants Jefferson, Draper, Mimms,
and Tyson were also allegedly present, as was an Officer C. Lewis
(# 6241), who is not a party to this action. As a result of the
assault, the plaintiff contends he sustained a swollen eye, a
broken finger, major neck and back pains, leg pain, severe
headaches, and pain in his hand.

Plaintiff contends he was escorted to the medical clinic
and seen by defendant Haywood, who did not treat his injuries
appropriately. Haywood only flushed out his eyes, which had been
sprayed by mace, but did not do an injury sheet or treat his other
injuries.

The complaint alleges that, on November 11, 2004,
plaintiff submitted a health service request form because of his
injuries. Plaintiff was allegedly seen by Nurse Aletha Reebamonte,
who is not a party to this action, on November 24, 2004. The nurse
denied the plaintiff’s request for x-rays and a medical examination
by a doctor. She said the only treatment she could offer was
Tylenol for five days. Plaintiff subsequently submitted another

health service request form, but received no response. Dr.

Case 2:05-CV-02272-SHI\/|-tmp Document 3 Filed 08/23/05 Page 6 of 12 Page|D 6

Stipanuk, the doctor at the Jail, allegedly ordered an x-ray of the
plaintiff's finger on March 24, 2005.

The complaint also alleges, without elaboration, that “my
right's [sic] to an attorney call was denied on 11.26.04 by the
floor sergeant,” who is presumably defendant Rudd. Later in the
complaint, the plaintiff clarified that defendant Rudd allegedly
refused to sign a grievance. The plaintiff spoke with a counselor
about the steps he needed to take to press criminal charges against
the officers who assaulted him. Although he allegedly followed
those steps, which are set forth in a document that is attached to
the complaint, he received no assistance from unspecified persons.

Next, the complaint alleges as follows:

I were forced to sign for some time on an assault

because of the threats and constant attacks on me. I did

inform the attorney who were appointed to my case about

the assault, and she said it will be better if I sign

under Alford v. North Carlina [sic], so I will be able to

state my case, and be herd [sic] because the way I’m

being treated is not right. (Attorney D. Gulies P.D.)
Although this allegation is not clear, it appears that the
plaintiff contends he was forced to plead guilty to some criminal
charge (which may or may not be related to the alleged assault by
defendants Clark and Hinton) because of the allegedly intolerable
conditions at the Jail. Attached to the complaint is a copy of a
judgment from the Shelby County General Sessions Court, dated
January lO, 2005, reflecting that Reese a/k/a Smith, having been

found guilty of assault, was sentenced to seven (7) months

imprisonment in the Shelby County Corrections Center. That document

Case 2:05-CV-02272-SHI\/|-tmp Document 3 Filed 08/23/05 Page 7 of 12 Page|D 7

indicates that the offense was committed on November 17, 2004, one
week after the alleged assault at issue in this action.

The plaintiff seeks $1.5 million in damages.

The Sixth Circuit has held that 42 U.S.C. § 1997e(a)
requires a federal court to dismiss a complaint without prejudice
whenever a prisoner brings a prison conditions claim without
demonstrating that he has exhausted his administrative remedies.

Brown v. Toombs, 139 F.3d 1102 (6th Cir. 1998); see Porter v.

 

Nussle, 534 U.S. 516, 532 (2002) (“[T]he PLRA's exhaustion
requirement applies to all inmate suits about prison life, whether

they involve general circumstances or particular episodes, and

whether they allege excessive force or some other wrong.”); Booth
v. Churner, 532 U.S. 731 (2001) (prisoner seeking only' money

damages must exhaust administrative remedies although damages are
unavailable through grievance system). This requirement places an
affirmative burden on prisoners of pleading particular facts
demonstrating the complete exhaustion of claims. Knuckles El v.
Toombs, 215 F.3d 640, 642 (Gth Cir. 2000). To comply with the
mandates of 42 U.S.C. § 1997e(a),

a prisoner must plead his claims with specificity and

show that they have been exhausted by attaching a copy of

the applicable administrative dispositions to the

complaint or, in the absence of written documentation,

describe with specificity the administrative proceeding

and its outcome.
Id. at 642; see also Bovd v. Corrections Corp. of Am., 380 F.3d

989, 985-96 (6th Cir. 2004) (describing the standard for

demonstrating exhaustion when prison officials fail to respond in

Case 2:05-CV-02272-SHI\/|-tmp Document 3 Filed 08/23/05 Page 8 of 12 Page|D 8

a timely manner to a grievance), cert. denied, 125 S. Ct. 1639

 

(2005); Baxter v. Rose, 305 F.3d 486 (6th Cir. 2002) (prisoner who

 

fails to allege exhaustion adequately may not amend his complaint
to avoid a ppg sponte dismissal); Curry v. Scott, 249 F.3d 493,
503-04 (6th Cir. 2001) (no abuse of discretion for district court
to dismiss for failure to exhaust when plaintiffs did not submit
documents showing complete exhaustion of their claims or otherwise
demonstrate exhaustion). Furthermore, § 1997(e) requires the
prisoner to exhaust his administrative remedies before filing suit
and, therefore, he cannot exhaust those remedies during the
pendency of the action. Freeman v. Francis, 196 F.3d 641, 645 (6th
Cir. 1999). Finally, the Sixth Circuit recently held that district
courts are required to dismiss a complaint in its entirety,
pursuant to 42 U.S.C. § 1997e(a), that contains any unexhausted
claims. Jones BeV v. Johnson, No. 03-2331, 2005 WL 1120283, at *3-
*6 (6th Cir. Apr. 27, 2005) (to be published in the Federal
Reporter).

In this case, the plaintiff has not satisfied his burden
of demonstrating, through particularized averments, that he
exhausted his administrative remedies as to any of his claims. The
plaintiff submitted a copy of a grievance (Grievance No. G-099289)
on or about December 13, 2004, concerning the alleged assault by
defendants Clark and Hinton. The matter was deemed grievable on or
about December 15, 2004. “Grievable” is defined on the form as

“{m]eets policy requirements to be investigated.” The complaint is

Case 2:05-CV-02272-SHI\/|-tmp Document 3 Filed 08/23/05 Page 9 of 12 Page|D 9

silent as to the result of any investigation or hearing.5 The
complaint also is silent as to any efforts by the plaintiff to
exhaust his claims against defendant Rudd, who allegedly ordered
the assault, against defendants Jefferson, Draper, Mimms, and
Tyson, who witnessed the assault and did not intervene to protect
the plaintiff, and against defendant Haywood, who allegedly

provided inadequate medical care. Moorer v. Price, 83 Fed. Appx.

 

770, 772 (6th Cir. Dec. 9, 2003) (plaintiff did not exhaust claim
against warden because his grievance did not identify the warden or
articulate any claim against her); Thomas v. Woolum, 337 F.3d 720,
733-34 (6th Cir. 2003); §§££X, 249 F.3d at 504. Likewise, there is
no indication that the plaintiff exhausted his claims against
defendants Luttrell, Coleman, Moore, Henderson, Harrison, and Rudd.

The Sixth Circuit recently stated that “[a] plaintiff who
fails to allege exhaustion. of administrative remedies through

‘particularized averments' does not state a claim on which relief

 

5 Although the complaint alleges that the plaintiff complained about
the assault to defendant Wharton, Congressman Harold Ford, Jr., and various Jail
officials, those complaints have no bearing on the plaintiff's compliance with
42 U.S.C. § 1997e(a). The Sixth Circuit has held that internal affairs
investigations are no substitute for the filing of a formal inmate grievance.
Curry, 249 F.3d at 504 (“an investigation by a prison Use of Force Committee will
not substitute for exhaustion through the prison's administrative grievance
procedure”); Freeman.v. Francis, 196 F,3d at 644-45 (investigation by prison Use
of Force committee and state highway'patrol insufficient). Similarly, an inmate’s
letters and petitions are no substitute for an inmate grievance. Shephard v.
Wilkinson, 27 Fed. Appx. 526, 527 (6th Cir. Dec. 5, 2001) (“While Shephard
asserts that he has raised his complaints in numerous letters to prison and
public officials, a prisoner must utilize the formal grievance process provided
by the state; he cannot comply with the requirements of § 1997e(a) by informally
presenting his claims.”); Hewell v. Leroux, 20 Fed. Appx. 375, 377 (6th Cir.
Sept. 21, 2001) (same); see also Clark v. Beebe, No. 98-1430, 1999 WL 993979, at
*2 (6th Cir. 0ct. 21, 1999) (district court erred in holding that prisoner had
substantially complied with exhaustion requirement by writing a letter to the
U.S. Attorney's office that eventually made its way to the warden of plaintiff's
prison).

Case 2:05-CV-02272-SH|\/|-tmp Document 3 Filed 08/23/05 Page 10 of 12 Page|D 10

may be granted, and his complaint must be dismissed ppa spont ."
Baxter, 305 F.3d at 489. Moreover, pursuant to the recent decision
in Jones Bey, a district court must dismiss any complaint that
contains unexhausted claims rather than attempting to sever the
exhausted claims. Accordingly, the Court DISMISSES the complaint in
its entirety, without prejudice, pursuant to 42 U.S.C. § 1997e(a).6
III. Appeal Issues

The next issue to be addressed is whether plaintiff
should. be allowed to appeal this decision _;p _fppmg= pauperis.
Twenty-eight U.S.C. § 1915(a)(3) provides that an appeal may not be
taken ip fppmg pauperis if the trial court certifies in writing
that it is not taken in good faith.

The good faith standard is an objective one. Coppedge v.
United States, 369 U.S. 438, 445 (1962); An appeal is not taken in
good faith if the issue presented is frivolous. ldp_Accordingly, it
would be inconsistent for a district court to determine that a
complaint should be dismissed prior to service on the defendants,
yet has sufficient merit to support an appeal ip fp;mp pauperis.

See Williams v. Kullman, 722 F.2d 1048, 1050 n.l (2d Cir. 1983).

 

The same considerations that lead the Court to dismiss this case
for failure to state a claim also compel the conclusion that an

appeal would not be taken in good faith.

 

6 As the Sixth Circuit has explainedl “If the plaintiff has exhausted
his administrative remedies, he may always refile his complaint and plead
exhaustion with sufficient detail to meet our heightened pleading requirement,
assuming that the relevant statute of limitations has not run.” Baxter, 305 F.3d
at 489.

 

10

Case 2:05-CV-02272-SH|\/|-tmp Document 3 Filed 08/23/05 Page 11 of 12 Page|D 11

It is therefore CERTIFIED, pursuant to 28 U.S.C. §
1915(a)(3), that any appeal in this matter by plaintiff is not
taken in good faith and plaintiff may not proceed on appeal ip
fppm§ pauperis.

The final matter to be addressed is the assessment of a
filing fee if plaintiff appeals the dismissal of this case.7 In
McGore v. Wriqqlesworth, 114 F.3d 601, 610-11 (6th Cir. 1997), the
Sixth Circuit set out specific procedures for implementing the
PLRA. Therefore, the plaintiff is instructed that if he wishes to
take advantage of the installment procedures for paying the
appellate filing fee, he must comply with the procedures set out in
McGore and § 1915(b).

IT Is so 0RDERED this 'L°'A day of August:, 2005.

_ l»@/M~t-_

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

7 Effective November 1, 2003, the fee for docketing an appeal is $250.
See Judicial Conference Schedule of Fees, l 1, Note following 28 U.S.C. § 1913.
Under 28 U.S.C. § 1917, a district court also charges a $5 fee:

Upon. the filing' of any separate or joint notice of appeal or
application for appeal or upon the receipt of any order allowing, or
notice of the allowance of, an appeal or of a writ of certiorari $5
shall be paid to the clerk of the district court, by the appellant
or petitioner.

ll

 

UND11E STATES D1STR1CT OURT - WESTER D1CTR1T oF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:05-CV-02272 Was distributed by faX, mail, or direct printing on
August 26, 2005 to the parties listed.

 

 

Artis Reese

SHELBY COUNTY JAIL
0313 5688

201 Poplar Avenue
l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

